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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
  WEST PALM BEACH DIVISION
  ------------------------------------------------------- x
  DONALD J. TRUMP,

                                     Plaintiff,
                                                              STAFFING, COMPENSATION,
                   - against -                                AND EXPENSE PROPOSAL
                                                              No. 22-81294-CIV-CANNON
  UNITED STATES OF AMERICA,

                                     Defendant.

  ------------------------------------------------------- x
  RAYMOND J. DEARIE, Special Master

          Pursuant to the Order Appointing Special Master, ECF 91 (“Appointing Order”), as

  amended by the Order Following Partial Stay, ECF No. 104, the undersigned submits this

  staffing, compensation, and expense proposal.

          In both the Case Management Plan filed on September 22, 2022, ECF 106 (“Plan”), and

  the Amended Case Management Plan filed on September 23, 2022 (“Amended Plan”), the

  undersigned notified the parties as follows:

          The undersigned has determined that the efficient administration of the Special
          Master’s duties requires the assistance of the Honorable James Orenstein (Ret.), a
          former United States Magistrate Judge for the Eastern District of New York, who
          has experience with complex case management, privilege review, warrant
          procedures, and other matters that may arise in the course of the Special Master’s
          duties. Judge Orenstein has served as an appointed amicus curiae in the Foreign
          Intelligence Surveillance Court pursuant to 50 U.S.C. § 1803(i)(2) and currently
          holds Top Secret clearance.

          The undersigned will also utilize Eastern District of New York court staff in
          carrying out his duties as Special Master. The undersigned will promptly notify
          the parties of any need for additional professionals, support staff, or expert
          consultants.

          As a United States District Judge in active service, the undersigned will seek no
          additional compensation for performing the duties of Special Master in this
          action. The undersigned proposes that Judge Orenstein be compensated at the
          hourly rate of $500. The undersigned further proposes that the Special Master will
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         provide the parties with monthly invoices, starting on October 1, 2022, setting
         forth the hours worked and expenses to be reimbursed. No later than seven
         calendar days after receiving each such invoice, Plaintiff shall notify the
         undersigned of any objections to the invoice, which will be promptly reviewed
         and resolved. No later than seven calendar days after the undersigned has resolved
         any such disputes (or seven calendar days after receiving an invoice as to which
         Plaintiff raises no objections), Plaintiff will submit payment in full as directed on
         the invoice. Failure to make timely payment will be deemed a violation of the
         Special Master’s order subject to sanction pursuant to Federal Rule of Civil
         Procedure 53(c)(2).

         The parties may submit comments on the foregoing staffing, compensation, and
         expense proposal no later than September 24, 2022, after which time the
         undersigned shall submit the proposal to the Court for consideration and approval.
         See Appointing Order, ¶¶ 14-15.

  Plan at 5-6; Amended Plan at 5-6.

         No party has submitted any comment to the foregoing proposal, and the time for such

  comment has lapsed. Accordingly, the undersigned respectfully submits the foregoing proposal

  to the Court for approval.



  Dated: Brooklyn, New York                            /s/ Raymond J. Dearie
         September 27, 2022                            RAYMOND J. DEARIE
                                                       United States District Judge




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